     Case 2:22-cv-04966-RGK-AFM Document 1 Filed 07/20/22 Page 1 of 7 Page ID #:1



 1
     Stephen M. Doniger (SBN 179314)
     stephen@donigerlawfirm.com
 2   Trevor W. Barrett (SBN 287174)
 3   tbarrett@donigerlawfirm.com
     Benjamin F. Tookey (SBN 330508)
 4   btookey@donigerlawfirm.com
 5   DONIGER / BURROUGHS
     603 Rose Avenue
 6   Venice, CA 90291
 7   Telephone: (310) 590-1820
     Attorneys for Plaintiff
 8
 9                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
10
11   Universal Dyeing & Printing, Inc., a                Case No.:
     California corporation,
12                                                       PLAINTIFF’S COMPLAINT FOR
13   Plaintiff,                                          COPYRIGHT INFRINGEMENT

14   v.                                                  Jury Trial Demanded
15
     Extra Magni Wall, Inc., a Colorado
16   corporation; Mooxy Lifestyle Inc., a
17   Colorado corporation; and Does 1 through
     10,
18
19   Defendants.
20
               Plaintiff Universal Dyeing & Printing, Inc. (“UDP” or “Plaintiff”), through
21
     counsel, hereby prays to this honorable Court for relief based on the following:
22
                                 JURISDICTION AND VENUE
23
               1.    This action arises under the Copyright Act of 1976, 17 U.S.C. § 101,
24
     et seq.
25
               2.    This Court has federal question jurisdiction under 28 U.S.C. §§ 1331,
26
     1338(a)-(b).
27
28

                                                 1
                                             COMPLAINT
     Case 2:22-cv-04966-RGK-AFM Document 1 Filed 07/20/22 Page 2 of 7 Page ID #:2



 1         3.     Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c)
 2   and 1400(a) in that this is the judicial district in which a substantial part of the acts
 3   and omissions giving rise to the claims occurred.
 4                                          PARTIES
 5         4.     UDP is a California corporation.
 6         5.     Upon information and belief, Plaintiff alleges that Defendant Extra
 7   Magni Wall, Inc. (“EMW”) is a Colorado corporation with its principal place of
 8   business at 2555 N. Clarkson St., Denver, CO 80205. EMW sold the Accused
 9   Products (defined below) to a resident of this judicial district (i.e., Plaintiff), and
10   shipped the Accused Products into this judicial district.
11         6.     Upon information and belief, Plaintiff alleges that Defendant Extra
12   Mooxy Lifestyle Inc. (“MLI”) is a Colorado corporation with its principal place of
13   business at 8340 Northfield Blvd., Denver, CO 80230. MLI sold the Accused
14   Products (defined below) to a resident of this judicial district (i.e., Plaintiff), and
15   shipped the Accused Products into this judicial district.
16         7.     Upon information and belief, Plaintiff alleges that Defendants Does 1
17   through 10 (collectively, “DOE Defendants”) (altogether with EMW and MLI,
18   “Defendants”) are other parties not yet identified who have infringed Plaintiff’s
19   copyrights, have contributed to the infringement of Plaintiff’s copyrights, or have
20   engaged in one or more of the wrongful practices alleged herein. The true names,
21   whether corporate, individual, or otherwise, of DOE Defendants are presently
22   unknown to Plaintiff, who therefore sues said DOE Defendants by such fictitious
23   names, and will seek leave to amend this Complaint to show their true names and
24   capacities when same have been ascertained.
25         8.     Upon information and belief, Plaintiff alleges that each of the
26   Defendants was the agent, affiliate, officer, director, manager, principal, alter-ego,
27   and/or employee of the remaining Defendants, and was at all times acting within
28   the scope of such agency, affiliation, alter-ego relationship, and/or employment;
                                                2
                                            COMPLAINT
     Case 2:22-cv-04966-RGK-AFM Document 1 Filed 07/20/22 Page 3 of 7 Page ID #:3



 1   and actively participated in, subsequently ratified, and/or adopted each of the acts
 2   or conduct alleged, with full knowledge of each violation of Plaintiff’s rights and
 3   the damages to Plaintiff proximately caused thereby.
 4                CLAIMS RELATED TO UDP’S SUBJECT DESIGN
 5         9.     Plaintiff owns an original two-dimensional artwork that is used for
 6   textile printing, entitled UA16033, and registered with the U.S. Copyright Office
 7   under Reg. Nos. VA 1-822-420 (“Subject Design”).
 8         10.    Plaintiff widely disseminated the Subject Design to numerous parties
 9   in the fashion and apparel industries.
10         11.    Following Plaintiff’s display, distribution, and publication of the
11   Subject Design, Defendants, and each of them, created, manufactured, distributed,
12   advertised, marketed, promoted, offered for sale, sold, displayed, published,
13   reproduced, created derivative works, and/or otherwise used fabric and/or garments
14   featuring a design that is strikingly and/or substantially similar to the Subject
15   Design without license, authorization, or consent from Plaintiff (collectively, the
16   “Accused Products”). Representative examples of the Subject Design and Accused
17   Products are below:
18   ///
19   ///
20   ///
21   ///
22
23
24
25
26
27
28

                                               3
                                           COMPLAINT
     Case 2:22-cv-04966-RGK-AFM Document 1 Filed 07/20/22 Page 4 of 7 Page ID #:4



 1               Subject Design                      Accused Products

 2
 3

 4
 5
 6
 7
 8
 9
10
                   UA16033
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                          4
                                      COMPLAINT
     Case 2:22-cv-04966-RGK-AFM Document 1 Filed 07/20/22 Page 5 of 7 Page ID #:5



 1                Subject Design                          Accused Products

 2
 3

 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24         12.    In March and Aprill 2022, Plaintiff sent correspondence to EMW and
25   MLI requesting that they cease-and-desist from their uses of the Accused Products
26   and provide Plaintiff with information regarding those uses so the parties could
27   explore an amicable, pre-litigation resolution. EMW and MLI failed to respond,
28   necessitating this action.
                                             5
                                         COMPLAINT
     Case 2:22-cv-04966-RGK-AFM Document 1 Filed 07/20/22 Page 6 of 7 Page ID #:6



 1                              FIRST CLAIM FOR RELIEF
 2          (For Copyright Infringement - Against All Defendants, and Each)
 3         13.     Plaintiff incorporates by reference the allegations contained in the
 4   preceding paragraphs of this Complaint.
 5         14.    Upon information and belief, Plaintiff alleges that Defendants, and
 6   each of them, had access to the Subject Design, including through (a) Plaintiff’s
 7   showroom and/or design library; (b) illegally distributed copies of the Subject
 8   Design by third-party vendors and/or DOE Defendants (e.g., international and/or
 9   overseas converters and printing mills); (c) Plaintiff’s strike-offs and samples;
10   and/or (d) garments in the marketplace manufactured with lawfully printed fabric
11   bearing the Subject Design.
12         15.    Upon information and belief, Plaintiff alleges that one or more of the
13   Defendants is a garment manufacturer and/or vendor; that said Defendant(s), and
14   each of them, has/have an ongoing business relationship with Defendant retailers,
15   and each of them; that said Defendants supplied garments, including the Accused
16   Products, to said Defendant retailers; and that said Defendant retailers used the
17   Accused Products as alleged above.
18         16.    Due to Defendants’, and each of their, acts of copyright infringement,
19   Plaintiff has suffered damages in an amount to be established at trial.
20         17.    Due to Defendants’, and each of their, acts of copyright infringement,
21   Defendants, and each of them, have obtained profits they would not have realized
22   but for their infringement of the Subject Design. As such, Plaintiff is entitled to
23   disgorgement of Defendants’ profits attributable to their infringement of the
24   Subject Design in an amount to be established at trial.
25         18.    Upon information and belief, Plaintiff alleges that Defendants, and
26   each of them, have committed copyright infringement with actual or constructive
27   knowledge, or in reckless disregard, of Plaintiff’s copyrights in the Subject Design,
28

                                               6
                                           COMPLAINT
     Case 2:22-cv-04966-RGK-AFM Document 1 Filed 07/20/22 Page 7 of 7 Page ID #:7



 1   such that said acts of copyright infringement were, and continue to be, willful,
 2   intentional, and malicious.
 3                                 PRAYER FOR RELIEF
 4         Wherefore, Plaintiff prays for judgment as follows:
 5            a. That Defendants, each of them, their respective agents, and anyone
 6                working in concert with Defendants and/or their agents, be enjoined
 7                from importing, manufacturing, distributing, offering for sale, selling,
 8                or otherwise trafficking in any product that infringes Plaintiff’s
 9                copyrights in Subject Design, including the Accused Products;
10            b. That Plaintiff be awarded all Defendants’ profits, plus all Plaintiff’s
11                losses, attributable to Defendants’ infringement of Plaintiff’s
12                copyrights in the Subject Design; or alternatively, if elected, statutory
13                damages under 17 U.S.C. § 504;
14            c. That Plaintiff be awarded its attorneys’ fees under 17 U.S.C. § 505;
15            d. That Plaintiff be awarded pre-judgment interest as allowed by law;
16            e. That Plaintiff be awarded the costs of this action; and
17            f. That Plaintiff be awarded such further legal and equitable relief as the
18                Court deems proper.
19         Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ.
20   P. 38 and the 7th Amendment to the United States Constitution.
21
22   Dated: July 20, 2022                          DONIGER/BURROUGHS
23                                          By:    /s/ Stephen M. Doniger
24
                                                   Stephen M. Doniger, Esq.
                                                   Trevor W. Barrett, Esq.
25                                                 Benjamin F. Tookey, Esq.
26                                                 Attorneys for Plaintiff

27
28

                                              7
                                          COMPLAINT
